     Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 1 of 14 PageID #:1



                     IN THE UNITED STATES DISTRICT COURT
                    FOR THE NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION


WILLIAM B. LOGAN JR., Trustee,                :
Bankruptcy Estate of Dorissha Tinnon,         :
50 W. Broad St. Ste. 1200                     :         CASE NO. 1:19-cv-1875
Columbus, OH 43215,                           :
                                              :
                                              :
                                              :
                                Plaintiff,    :
                                              :
       v.                                     :         COMPLAINT
                                              :
B H 92 TRUCKING, INC.,                        :
c/o Kemel Brown, Director of Safety           :
440 W. Boughton Rd. Ste. 210                  :
Bolingbrook, IL 60440,                        :
                                              :
       and                                    :
                                              :
AP EXPRESS SERVICES, INC.                     :
c/o Alen Poskovic, Owner                      :
283 Mark Ave.                                 :
Glendale Heights, IL 60139,                   :
                                              :
       and                                    :
                                              :
ALEN POSKOVIC,                                :
c/o AP Express Services, Inc.                 :
283 Mark Ave.                                 :
Glendale Heights, IL 60139,                   :
                                              :
                                              :         Jury Trial Demanded
                                Defendants.   :




                                              -- 1 --
      Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 2 of 14 PageID #:2



I.     Preliminary Statement

       1.      This action seeks compensatory and punitive damages; declaratory, injunctive, and

equitable relief; prejudgment and post-judgment interest; costs; and attorneys’ fees for the

wrongful retaliatory discharge in violation of the Surface Transportation Assistance Act of 1982

(“STAA”), 49 U.S.C. § 31105, committed when Defendants terminated Ms. Tinnon because

internally reported to Defendants that she could not drive in violation of the federal hours of service

Regulations, would not falsify her driving records to feign compliance with such Regulations, and

would not drive an unsafe vehicle in need of a repair that Defendants did not facilitate.

II.    Jurisdiction and Venue

       2.      This Court has jurisdiction over this action by virtue of 49 U.S.C. § 31105(c) and

28 U.S.C. § 1332 (diversity of citizenship).

       3.      Diversity jurisdiction is appropriate as the amount in controversy exceeds

$75,000.00.

       4.      On October 6, 2017, Ms. Tinnon properly filed a complaint under STAA with the

Regional Administrator for the Occupational Safety and Health Administration (“OSHA”) Region

5, a division of the United States Department of Labor, within 180 days of her termination of

September 13, 2017. No final decision was issued within 210 days after the filing of the complaint

and the delay was not due to bad faith by Ms. Tinnon, making this action proper under 49 U.S.C.

§ 31105(c).

       5.      Declaratory and injunctive relief is sought pursuant to 28 U.S.C. §§ 2201; 2202.

       6.      Compensatory damages and punitive damages may be awarded pursuant to 49

U.S.C. § 31105(b).


                                                -- 2 --
       Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 3 of 14 PageID #:3



        7.     Costs and attorneys’ fees may be awarded pursuant to 49 U.S.C. §

31105(b)(3)(A)(iii), federal common law, and Fed. R. Civ. P. 54.

        8.     Venue lies in this forum pursuant to 28 U.S.C. § 1391(b) because Defendant AP

Express Services, Inc.’s headquarters are in Glendale Heights, Illinois, where Defendants made

the decision to terminate Ms. Tinnon, giving rise to this action.

III.    Parties

        9.     Plaintiff, William B. Logan, Jr., is the Trustee of Dorissha Tinnon’s         (“Ms.

Tinnon”) bankruptcy estate. Ms. Tinnon, a resident of Franklin County, Ohio, was a joint

employee of Defendant AP Express Services, Inc. and Defendant B H 92 Trucking, Inc. She

served as a CDL truck driver in the transportation department, a position she held from August 3,

2017, until her termination on September 13, 2017; and earned $0.50 per mile, drove

approximately 3,000 miles per week, earning approximately $1,500 weekly.

        10.    Defendant AP Express Services, Inc. (“Defendant AP Express”), an Illinois

corporation, is headquartered and maintains its principal place of business in Glendale Heights,

Illinois; is engaged in business affecting commerce that owns or leases a commercial motor vehicle

in connection with that business or assigns an employee to operate the vehicle in commerce; and

was a joint employer of Ms. Tinnon with Defendant B H 92 Trucking, Inc..

        11.    Defendant B H 92 Trucking, Inc.(“Defendant B H 92”), an Illinois corporation, is

headquartered and maintains its principal place of business in Bolingbrook, Illinois; is engaged in

business affecting commerce that owns or leases a commercial motor vehicle in connection with

that business or assigns an employee to operate the vehicle in commerce; and was a joint employer

of Ms. Tinnon with Defendant AP Express.



                                              -- 3 --
      Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 4 of 14 PageID #:4



       12.     Defendant Alen Poskovic (“Defendant Poskovic”) was at all times material to this

Complaint the alter ego of Defendant AP Express Services, Inc., in the position of Owner and on

paper one of its employees, and was delegated by Defendant AP Express the authority to terminate

Ms. Tinnon and to assign her to operate a vehicle in commerce.

IV.    Facts


       13.     Defendant B H 92 and Defendant AP Express maintain a contractual relationship

in which Defendant AP Express leases trucks, drivers, and cargo transportation services to B H 92

in exchange for 89% of the revenue it receives from the shipper or consignee for the transportation

of commodities.

       14.     Ms. Tinnon began working jointly for Defendants on August 3, 2017 as a CDL

truck driver, after she applied based upon a job advertisement maintained by Defendant B H 92

through its website. Ms. Tinnon was required to provide Defendant B H 92 with her driver’s license

and get her daughter approved as a passenger through Defendant B H 92’s insurance.

       15.     When Defendant B H 92 confirmed that Ms. Tinnon could drive for it with her

daughter through B H 92’s insurance, she traveled to its Bolingbrook office to complete her

orientation and employment documents, including I4, 1099, B H 92 policies and procedures, and

other additional documents.

       16.     On August 9, 2017, Defendant B H 92’s Director of Safety, Kemel Brown (“Mr.

Brown”), asked Ms. Tinnon for her direct deposit routing number and account number to ensure

payment for her employment.

       17.     The next day, Ms. Tinnon texted Mr. Brown to confirm that all of her pre-

employment steps, including paperwork and drug testing, were complete through Defendant B H

92, to which he replied, “Yes, all set”.
                                              -- 4 --
      Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 5 of 14 PageID #:5



       18.     Defendants B H 92 and AP Express jointly employed Ms. Tinnon under an

arrangement where they would share her services.

       19.     When Ms. Tinnon began employment, Defendant B H 92 provided her with a truck

to drive, owned by Defendant AP Express and leased to Defendant B H 92.

       20.     On August 10, 2017, Ms. Tinnon complained to Defendant B H 92, via a text to

Mr. Brown, stating that the truck had not been cleaned or serviced.

       21.     Mr. Brown replied that he would talk to Defendant Poskovic, owner of Defendant

AP Express, and that Defendant B H 92 “always get[s] trucks through the shop and clean[s] them.”

       22.     On August 14, 2017, Ms. Tinnon reported to Mr. Brown that the truck had major

issues, including “Tri pack Check alternator (alt)[,] tires [,] pm[,] service[,] turbo wire needs

replaced” and that her “tri pack [was] completely out.”

       23.     Mr. Brown promised he would speak with Defendant Poskovic about the truck

issues, but the issues remained unfixed.

       24.     On September 5, 2017, an inspection of Defendant AP Express’ truck found three

violations on the truck’s condition, which Ms. Tinnon discussed with Defendant B H 92 and

forwarded a copy of the inspection to it.

       25.     After this incident, Defendant B H 92 instructed Ms. Tinnon to “please make sure

to take picture [sic] of all four sides of the trailer and the bill of lading [sic] and text them to me

before you leave the shipper.”

       26.     Ms. Tinnon was issued a ticket while driving the truck at a weigh station. That ticket

was issued to Defendant B H 92, who leased the truck from Defendant AP Express.




                                                -- 5 --
      Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 6 of 14 PageID #:6



        27.      Ms. Tinnon asked Mr. Brown if she could drive a company truck owned by

Defendant B H 92 in order to avoid the problems with the truck owned by Defendant AP Express,

to which he indicated he would talk to Defendant B H 92’s owner about that prospect.

        28.      On or about September 13, 2017, Ms. Tinnon’s company commercial truck, owned

by Defendant AP Express and leased to Defendant B H 92, broke down in Memphis, Tennessee

while she was en route to pick up a load.

        29.      Ms. Tinnon called one of her supervisors, Defendant Poskovic, to inform him that

the truck was broken down on the side of the road due to an ongoing issue with its regen system,

which she had complained about at least five times prior to this occasion. That caused her truck to

only be able to drive thirty miles per hour or less on the highway. The repairman stated that it

could be fixed by towing it to Volvo or unplugging the speed sensor, which would override the

issue, to drive it.

        30.      Unplugging the speed sensor rendered driving the truck unsafe.

        31.      Absent repairs to the conditions that broke down the truck on the side of the road,

driving it was unsafe.

        32.      Prior to speaking with Defendant Poskovic, Ms. Tinnon spoke with one of

Defendant AP Express’ dispatchers, who informed her that Defendant Poskovic stated if she did

not take the load to its destination, she could bring the truck back to Chicago, meaning she would

be fired.

        33.      Defendant Poskovic confirmed that Ms. Tinnon would be fired if she did not take

the load to its destination, even though Ms. Tinnon would be required to drive in violation of the

federal hours of service Regulations in order to get to the pick-up location one-hundred and fifty



                                               -- 6 --
      Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 7 of 14 PageID #:7



miles away from the spot where her truck broke down. The truck was not in safe operating

condition.

       34.     Ms. Tinnon replied that she could not take the load because she did not have enough

hours to do so before her driving shift was required to end by law.

       35.     At the time of that call to Defendant Poskovic, Ms. Tinnon was only able to drive

for another one hour and fifteen minutes before she would be required to stop.

       36.     Defendant Poskovic, upon learning that Ms. Tinnon would be required to drive in

violation of federal Regulations in order to complete the delivery, threatened her employment by

stating, “If you don’t have hours, you can park right now and tomorrow you can bring the empty

truck back to Chicago. I can’t do nothing [sic] else.”

       37.     Ms. Tinnon confirmed Defendant Poskovic’s threat, “So you’re firing me because

I cannot pick up the load?”

       38.     Defendant Poskovic replied, “If you cannot pick up the load, it’s like under thirty

miles from you, take two hours driving.”

       39.     The pick-up location for the load was one-hundred and fifty miles away from Ms.

Tinnon, not “under thirty miles.”

       40.     Ms. Tinnon informed Defendant Poskovic that the load was one-hundred and fifty

miles away, and asked if his direction to pick up the load anyways meant he was “going to fire

[her] because [she] can’t pick up the load illegally.”

       41.     Defendant Poskovic stated, “yes, correct,” that he was going to fire Ms. Tinnon for

not picking up the load when it would be illegal for her to drive more hours.




                                               -- 7 --
      Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 8 of 14 PageID #:8



       42.     Defendant Poskovic made it clear to Ms. Tinnon that he was more concerned about

“throw[ing] off the day” and “cancel[ling] orders” due to her inability to pick up the load than he

was about Ms. Tinnon complying with the relevant federal Regulations.

       43.     Ms. Tinnon told Defendant Poskovic that it was not her fault that she did not have

enough hours to pick up the load and again mentioned he was asking her to “drive illegally.”

       44.     Defendant Poskovic then argued with Ms. Tinnon, stating no, he was not asking

her to drive illegally, but rather was “just ask[ing] if [she] could make it 30 miles, at least two

hours, to be there and pick up.”

       45.     Ms. Tinnon did not have two hours remaining to drive; if she drove over one hour

and fifteen minutes, she would violate the federal Regulations.

       46.     Ms. Tinnon reiterated that she did not have the two hours driving time Defendant

Poskovic was demanding to pick up the load and asked what she was supposed to do.

       47.     Defendant Poskovic said he did not know, yet suggested that Ms. Tinnon “make it

30 miles or 30 minutes longer or make it twenty minutes to pick up the load.”

       48.     Ms. Tinnon asked Defendant Poskovic if he was telling her to falsify her logs by

changing her time.

       49.     Defendant Poskovic said “yes” he wanted her to “change” her logs to “make it thirty

or forty minutes.”

       50.     At this point, Ms. Tinnon stated, “I don’t really feel comfortable driving illegally,

Alen. And you know, like I said, that’s not my fault, so for you to tell me that if I don’t pick up

the load, then I’m basically fired, that’s not fair to me.”

       51.     Defendant Poskovic insisted that Ms. Tinnon “could make it thirty minutes to pick

up the load” and that she “could move like thirty minutes.”

                                                -- 8 --
      Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 9 of 14 PageID #:9



       52.     While Defendant Poskovic continued to insist that picking up the load would be

“just thirty minutes,” Ms. Tinnon reminded him that, because she only had an hour and seven

minutes left, accounting for the duration of her call with him, she would “have to add a whole

other [sic] hour.”

       53.     Ms. Tinnon knew the pick-up location was a hundred and fifty miles from her

because she was “looking at the GPS” during her call with Defendant.

       54.     Based on the GPS and the fact that Ms. Tinnon would “have to go over a scale

house,” the trip to pick up the load was going to take “over an hour,” a fact that she relayed to

Defendant Poskovic.

       55.     Defendant Poskovic advised Ms. Tinnon to “skip the weigh station to go pick up

the load” which would make the trip “two hours” if she “can adjust the hours.”

       56.      Ms. Tinnon advised Defendant Poskovic, again, that if she passed the weigh

station, she would “still have hours,” but if she kept “driving [she would] go out of hours.”

       57.     Defendant Poskovic asked Ms. Tinnon if she was using electronic logs or paper

logs to keep her time.

       58.     Defendant Poskovic told Ms. Tinnon he wanted her to use “paper ones so [she] can

move like thirty minutes around.”

       59.     Ms. Tinnon said “if I do the paper logs then I’mma [sic] have to go back from when

I did my thirty-four hour reset.”

       60.     Defendant Poskovic suggested instead of resetting her logs, Ms. Tinnon could just

claim that she was in Memphis all week for her hours.




                                              -- 9 --
    Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 10 of 14 PageID #:10



       61.     Ms. Tinnon was uncomfortable driving illegally, and informed Defendant Poskovic

that she would “just drive home tomorrow and get [her] stuff out and just bring the truck back

there” to Chicago and that she would not be driving illegally.

       62.     Defendant Poskovic stated he would tell the broker that there would be no pick up

that day and told Ms. Tinnon “that’s it.”

       63.     After the call, Ms. Tinnon drove back to Chicago to drop off the truck and

Defendants fired her because of her refusal to drive in violation of the law.

       64.     The next day, Defendant Poskovic texted Ms. Tinnon, “Yesterday situation it was

bad for the company. We screwed up 2 Broker on same day and the [sic] put us on not use list. I

know I was mad. I tell you to come to Chicago but if you want stay you can continue driving.”

       65.     Ms. Tinnon responded to the text that she would have continued driving if the truck

was properly repaired by Volvo, but Defendants never repaired the truck and, as a result, Ms.

Tinnon did not continue driving for Defendants.

       66.     Ms. Tinnon knew that if the Department of Transportation or other regulators

discovered that she had fabricated her hours she would be subject to fines and a suspension of her

commercial driver’s license.

       67.     Had Ms. Tinnon’s commercial driver’s license been suspended as a result of

fabricating her hours, she would not have legally been allowed to work in her chosen industry.

       68.     At all times material to this complaint, Ms. Tinnon operated as a property-carrying

driver subject to the federal hours of service Regulations.

       69.     Ms. Tinnon filed a complaint with OSHA against Defendant B H 92 and Defendant

Poskovic under 49 U.S.C. § 31105, which was not resolved within 210 days after the filing of the

complaint.

                                              -- 10 --
    Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 11 of 14 PageID #:11



       70.     Ms. Tinnon’s OSHA complaint against Defendant B H 92 and Defendant Poskovic

put Defendant AP Express on actual or constructive notice of the charge.

       71.     The federal Department of Transportation has clear public policies, enshrined in 49

C.F.R. 395, against property-carrying CDL drivers driving more than eleven hours following ten

consecutive hours off duty; beyond the fourteenth consecutive hour after coming on duty,

following ten consecutive hours off duty; or after being on duty more than sixty hours in any seven

consecutive days.

       72.     Driving beyond those mandated hours requirements violates those clear public

policies limiting the amount of time one commercial driver can drive on the road.

       73.     The federal Department of Transportation has a clear public policy, enshrined in 49

C.F.R. 395.8, requiring that commercial drivers keep an accurate and current driver’s record of

duty status (commonly referred to as a “drive log”).

       74.     Misleading the federal Department of Transportation about the total amount of time

an individual commercial driver spends on the road and the location of the driver for the week also

violates those clear public policies.

       75.     The federal Department of Transportation has a clear public policy, enshrined in 49

C.F.R. 393.82, requiring that commercial drivers operate a motor vehicle with an accurate

speedometer and avoid operating, under 49 C.F.R. 396.7, a vehicle in a condition likely to cause

an accident or breakdown.

       76.     Operating a vehicle with a disconnected speedometer violates those clear public

policies and presents a safety risk.

       77.     Retaliation against an employee for refusal to violate the Department of

Transportation’s clear public policies jeopardizes those policies.

                                              -- 11 --
      Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 12 of 14 PageID #:12



        78.    A contributing factor in Defendants’ decision to discharge Ms. Tinnon was that she

refused to violate the federal hours of service Regulations and/or unsafely operate a vehicle.

        79.    Ms. Tinnon suffered and continues to suffer emotional distress proximately caused

by her wrongful retaliatory discharge.

        80.    Ms. Tinnon suffered and continues to suffer tainting of her employment record

proximately caused by her discharge.

        81.    As a result of Ms. Tinnon’s termination, she was unable to find reasonable

replacement work for over four months.,

        82.    Ms. Tinnon’s driving record reflects her previous employer as Defendant B H 92

Trucking. Upon accepting new employment, she was asked to sign a release for Defendant B H

92.

        83.    When Ms. Tinnon was able to secure reasonable replacement work, the pay and

benefits were significantly less than she was earning while jointly employed with Defendants.

        84.    As a result, Ms. Tinnon continues to be economically damaged.

        85.    Defendants’ violations of the Department of Transportation’s public policies and

the resulting vengeful wrongful retaliatory discharge of Ms. Tinnon were malicious, in bad faith,

or wanton or reckless.




                                             -- 12 --
    Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 13 of 14 PageID #:13



V. Legal Claims

                                 (Count I)
Claim for Wrongful Discharge in Violation of the Surface Transportation Assistance Act of
   1982

   86.           Plaintiff incorporates, as if fully realleged, paragraphs 1 through 85 of this

Complaint.

   87.           By terminating Ms. Tinnon’s employment after she refused to operate a commercial

vehicle because such operation violated the federal Department of Transportation’s hours of

service Regulations, which are related to commercial motor vehicle safety, health, or security,

and/or the vehicle was in an unsafe operating condition, Defendants violated the Surface

Transportation Assistance Act.

         WHEREFORE, Mr. Logan requests that this Court:

         A.      declare that Defendants, jointly or severally, committed the wrongful retaliatory

discharge of Ms. Tinnon;

         B.      award back pay, compensatory damages for emotional distress, anguish,

embarrassment, and frustration, and pre- and post- judgment interest in an amount exceeding

$75,000;

         C.      award punitive damages;

         D.      award attorneys’ fees and costs; and

         E.      grant such other relief as the Court may deem appropriate.

                                         JURY DEMAND

         Plaintiff requests a jury on all claims, defenses, or factual issues triable by a jury.




                                                 -- 13 --
Case: 1:19-cv-01875 Document #: 1 Filed: 03/18/19 Page 14 of 14 PageID #:14




                     RESPECTFULLY SUBMITTED,


                     By:   s/Michael I. Leonard
                           Counsel for Plaintiff
                                   LEONARDMEYER LLP
                                   Michael I. Leonard
                                   Madelaine M. Thomas
                                   120 North LaSalle Street, Suite 2000
                                   Chicago, Illinois 60602
                                   (312) 380-6559
                                   (312) 264-0671 (fax)
                                   mleonard@leonardmeyerllp.com
                                   mthomas@leonardmeyerllp.com

                                       John S. Marshall (0015160)
                                       (jmarshall@marshallforman.com)
                                       Edward R. Forman (0076651)
                                       (eforman@marshallforman.com)
                                       Samuel M. Schlein (0092194)
                                       (sschlein@marshallforman.com)
                                       Helen M. Robinson (0097070)
                                       (hrobinson@marshallforman.com)
                                       All moving for pro hac vice admission
                                       MARSHALL & FORMAN LLC
                                       250 Civic Center Dr., Suite 480
                                       Columbus, Ohio 43215-5296
                                       (614) 463-9790
                                       (614) 463-9780 (fax)

                                       OF COUNSEL:
                                       Louis A. Jacobs (002101)
                                       Moving for pro hac vice admission
                                       (LAJOhio@aol.com)
                                       177 19th St., Apt. 9C
                                       Oakland, CA 94612
                                       (614) 203-1255
                                       (510) 250-9007 (fax)




                                  -- 14 --
